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                       Exhibit 7
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                                                              UNITED STATES INSTITUTE OF PEACE                                          www.usip.org



               SPECIAL REPORT                                 1200 17th Street NW • Washington, DC 20036 • 202.457.1700 • fax 202.429.6063


                                   ABOUT THE REPORT           Gabriel Weimann
  Terrorists fight their wars in cyberspace as well as on
 the ground. However, while politicians and the media


                                                              www.terror.net
   have hotly debated the dangers that cyberterrorism
       poses to the Internet, surprisingly little is known
         about the threat posed by terrorists’ use of the
   Internet. Today, as this report makes plain, terrorist
 organizations and their supporters maintain hundreds
  of websites, exploiting the unregulated, anonymous,
                                                              How Modern Terrorism
  and easily accessible nature of the Internet to target
an array of messages to a variety of audiences. Gabriel
Weimann identifies no fewer than eight different ways
                                                              Uses the Internet
  in which terrorists are using the Internet to advance
     their cause, ranging from psychological warfare to
        recruitment, networking to fundraising. In each
   case, the report not only analyzes how the Internet
   can facilitate terrorist operations but also illustrates
      the point with examples culled from an extensive        Summary
                      exploration of the World Wide Web.
                                                              • The great virtues of the Internet—ease of access, lack of regulation, vast potential
Gabriel Weimann is a senior fellow at the United States         audiences, and fast flow of information, among others—have been turned to the
    Institute of Peace and professor of communication           advantage of groups committed to terrorizing societies to achieve their goals.
   at Haifa University, Israel. He has written widely on
  modern terrorism, political campaigns, and the mass         • Today, all active terrorist groups have established their presence on the Internet. Our
   media. This report distills some of the findings from        scan of the Internet in 2003–4 revealed hundreds of websites serving terrorists and
     an ongoing, six-year study of terrorists’ use of the       their supporters.
                                                Internet.
                                                              • Terrorism on the Internet is a very dynamic phenomenon: websites suddenly emerge,
 The views expressed in this report do not necessarily          frequently modify their formats, and then swiftly disappear—or, in many cases, seem
 reflect views of the United States Institute of Peace,         to disappear by changing their online address but retaining much the same content.
which does not not advocate specific policy positions.
                                                              • Terrorist websites target three different audiences: current and potential supporters;
                                                                international public opinion; and enemy publics.
                                                              • The mass media, policymakers, and even security agencies have tended to focus on
                                                                the exaggerated threat of cyberterrorism and paid insufficient attention to the more
                                                                routine uses made of the Internet. Those uses are numerous and, from the terrorists’
                                                                perspective, invaluable.

SPECIAL REPORT 116                          MARCH 2004        • There are eight different ways in which contemporary terrorists use the Internet, rang-
                                                                ing from psychological warfare and propaganda to highly instrumental uses such as
                                                                fundraising, recruitment, data mining, and coordination of actions.
                                               CONTENTS       • While we must better defend our societies against cyberterrorism and Internet-savvy
                                      Introduction 2            terrorists, we should also consider the costs of applying counterterrorism measures to
                 Modern Terrorism and the Internet 2            the Internet. Such measures can hand authoritarian governments and agencies with
                  An Overview of Terrorist Websites 3           little public accountability tools with which to violate privacy, curtail the free flow of
                   How Terrorists Use the Internet 5            information, and restrict freedom of expression, thus adding a heavy price in terms of
                                         Conclusion 11          diminished civil liberties to the high toll exacted by terrorism itself.
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                                                              Introduction
                             ABOUT THE INSTITUTE              The story of the presence of terrorist groups in cyberspace has barely begun to be told.
          The United States Institute of Peace is an          In 1998, around half of the thirty organizations designated as “Foreign Terrorist Organiza-
       independent, nonpartisan federal institution           tions” under the U.S. Antiterrorism and Effective Death Penalty Act of 1996 maintained
   created by Congress to promote the prevention,             websites; by 2000, virtually all terrorist groups had established their presence on the
  management, and peaceful resolution of interna-             Internet. Our scan of the Internet in 2003–4 revealed hundreds of websites serving
tional conflicts. Established in 1984, the Institute          terrorists and their supporters. And yet, despite this growing terrorist presence, when
meets its congressional mandate through an array              policymakers, journalists, and academics have discussed the combination of terrorism
    of programs, including research grants, fellow-           and the Internet, they have focused on the overrated threat posed by cyberterrorism or
   ships, professional training, education programs           cyberwarfare (i.e., attacks on computer networks, including those on the Internet) and
         from high school through graduate school,            largely ignored the numerous uses that terrorists make of the Internet every day.
  conferences and workshops, library services, and                In this report we turn the spotlight on these latter activities, identifying, analyzing,
  publications. The Institute’s Board of Directors is         and illustrating ways in which terrorist organizations are exploiting the unique attributes
   appointed by the President of the United States            of the Internet. The material presented here is drawn from an ongoing study (now in its
                      and confirmed by the Senate.            sixth year) of the phenomenon, during which we have witnessed a growing and increas-
                                                              ingly sophisticated terrorist presence on the World Wide Web. Terrorism on the Internet,
                                 BOARD OF DIRECTORS           as we have discovered, is a very dynamic phenomenon: websites suddenly emerge, frequently
     Chester A. Crocker (Chairman), James R. Schlesinger      modify their formats, and then swiftly disappear—or, in many cases, seem to disappear
 Professor of Strategic Studies, School of Foreign Service,   by changing their online address but retaining much the same content. To locate the
  Georgetown University • Seymour Martin Lipset (Vice         terrorists’ sites, we have conducted numerous systematic scans of the Internet, feeding
        Chairman), Hazel Professor of Public Policy, George   an enormous variety of names and terms into search engines, entering chat rooms and
       Mason University • Betty F. Bumpers, Founder and       forums of supporters and sympathizers, and surveying the links on other organizations’
           former President, Peace Links, Washington, D.C.    websites to create and update our own lists of sites. This is often a herculean effort, espe-
      • Holly J. Burkhalter, Advocacy Director, Physicians    cially because in some cases (e.g., al Qaeda’s websites) locations and contents change
   for Human Rights, Washington, D.C. • Charles Horner,       almost daily.
         Senior Fellow, Hudson Institute, Washington, D.C.       The report begins by sketching the origins of the Internet, the characteristics of the
     • Stephen D. Krasner, Graham H. Stuart Professor of      new medium that make it so attractive to political extremists, the range of terrorist
               International Relations, Stanford University   organizations active in cyberspace, and their target audiences. The heart of the report is
       • Marc E. Leland, Esq., President, Marc E. Leland &    an analysis of eight different uses that terrorists make of the Internet. These range from
        Associates, Arlington, Va. • Mora L. McLean, Esq.,    conducting psychological warfare to gathering information, from training to fundraising,
        President, Africa-America Institute, New York, N.Y.   from propagandizing to recruiting, and from networking to planning and coordinating
 • María Otero, President, ACCION International, Boston,      terrorist acts. In each instance, we offer concrete examples drawn from our own research,
 Mass.• Daniel Pipes, Director, Middle East Forum, Phila-     from cases reported in the media, and from contacts with Western intelligence organiza-
delphia, Pa. • Barbara W. Snelling, former State Senator      tions. Although the bulk of the report amounts to a strong argument for the political,
and former Lieutenant Governor, Shelburne, Vt. • Harriet      intelligence, and academic communities to pay much more attention to the dangers posed
       Zimmerman, Vice President, American Israel Public      by terrorists’ use of the Internet, the report concludes with a plea to those same commu-
                       Affairs Committee, Washington, D.C.    nities not to overreact. The Internet may be attractive to political extremists, but it also
                                                              symbolizes and supports the freedom of thought and expression that helps distinguish
                                       MEMBERS EX OFFICIO
                                                              democracies from their enemies. Effective counterterrorist campaigns do not require, and
          Lorne W. Craner, Assistant Secretary of State
                                                              may be undermined by, draconian measures to restrict Internet access.
               for Democracy, Human Rights, and Labor
       • Michael M. Dunn, Lieutenant General, U.S. Air
           Force; President, National Defense University
• Douglas J. Feith, Under Secretary of Defense for Policy     Modern Terrorism and the Internet
       • Richard H. Solomon, President, United States
                         Institute of Peace (nonvoting)       Paradoxically, the very decentralized network of communication that the U.S. security
                                                              services created out of fear of the Soviet Union now serves the interests of the greatest
                                                              foe of the West’s security services since the end of the Cold War: international terror. The
                                                              roots of the modern Internet are to be found in the early 1970s, during the days of the
                                                              Cold War, when the U.S. Department of Defense was concerned about reducing the vulner-
                                                              ability of its communication networks to nuclear attack. The Defense Department decided
                                                              to decentralize the whole system by creating an interconnected web of computer net-
                                                              works. After twenty years of development and use by academic researchers, the Internet

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quickly expanded and changed its character when it was opened up to commercial users
in the late 1980s. By the mid-1990s, the Internet connected more than 18,000 private,
public, and national networks, with the number increasing daily. Hooked into those net-
works were about 3.2 million host computers and perhaps as many as 60 million users
spread across all seven continents. The estimated number of users in the early years of
the twenty-first century is over a billion.
   As it burgeoned, the Internet was hailed as an integrator of cultures and a medium for
businesses, consumers, and governments to communicate with one another. It appeared
to offer unparalleled opportunities for the creation of a forum in which the “global vil-
lage” could meet and exchange ideas, stimulating and sustaining democracy throughout
the world. However, with the enormous growth in the size and use of the network,
utopian visions of the promise of the Internet were challenged by the proliferation of
pornographic and violent content on the web and by the use of the Internet by extremist
organizations of various kinds. Groups with very different political goals but united in
their readiness to employ terrorist tactics started using the network to distribute their
propaganda, to communicate with their supporters, to foster public awareness of and
sympathy for their causes, and even to execute operations.
   By its very nature, the Internet is in many ways an ideal arena for activity by terrorist     By its very nature, the Internet
organizations. Most notably, it offers
                                                                                                 is in many ways an ideal
• easy access;
                                                                                                 arena for activity by terrorist
• little or no regulation, censorship, or other forms of government control;
                                                                                                 organizations.
• potentially huge audiences spread throughout the world;
• anonymity of communication;
• fast flow of information;
• inexpensive development and maintenance of a web presence;
• a multimedia environment (the ability to combine text, graphics, audio, and video and
  to allow users to download films, songs, books, posters, and so forth); and
• the ability to shape coverage in the traditional mass media, which increasingly use the
  Internet as a source for stories.



An Overview of Terrorist Websites
These advantages have not gone unnoticed by terrorist organizations, no matter what              Today, almost all active
their political orientation. Islamists and Marxists, nationalists and separatists, racists and
anarchists: all find the Internet alluring. Today, almost all active terrorist organizations     terrorist organizations . . .
(which number more than forty) maintain websites, and many maintain more than one                maintain websites, and
website and use several different languages.
  As the following illustrative list shows, these organizations and groups come from all
                                                                                                 many maintain more than
corners of the globe. (This geographical categorization, it should be noted, reveals the         one website and use several
geographical diversity but obscures the fact that many groups are truly transnational, and
                                                                                                 languages.
even transregional, in character.)
• From the Middle East, Hamas (the Islamic Resistance Movement), the Lebanese Hezbol-
  lah (Party of God), the al Aqsa Martyrs Brigades, Fatah Tanzim, the Popular Front for the
  Liberation of Palestine (PFLP), the Palestinian Islamic Jihad, the Kahane Lives movement,
  the People’s Mujahedin of Iran (PMOI—Mujahedin-e Khalq), the Kurdish Workers’ Party
  (PKK), and the Turkish-based Popular Democratic Liberation Front Party (DHKP/C) and
  Great East Islamic Raiders Front (IBDA-C).
• From Europe, the Basque ETA movement, Armata Corsa (the Corsican Army), and the
  Irish Republican Army (IRA).

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                                  • From Latin America, Peru’s Tupak-Amaru (MRTA) and Shining Path (Sendero Luminoso),
                                    the Colombian National Liberation Army (ELN-Colombia), and the Armed Revolutionary
                                    Forces of Colombia (FARC).
                                  • From Asia, al Qaeda, the Japanese Supreme Truth (Aum Shinrikyo), Ansar al Islam (Sup-
                                    porters of Islam) in Iraq, the Japanese Red Army (JRA), Hizb-ul Mujehideen in Kashmir,
                                    the Liberation Tigers of Tamil Eelam (LTTE), the Islamic Movement of Uzbekistan (IMU),
                                    the Moro Islamic Liberation Front (MILF) in the Philippines, the Pakistan-based Lashkar-
                                    e-Taiba, and the rebel movement in Chechnya.


                                  Content
 What most sites do not fea-      What is the content of terrorist sites? Typically, a site will provide a history of the organi-
                                  zation and its activities, a detailed review of its social and political background, accounts
ture is a detailed description    of its notable exploits, biographies of its leaders, founders, and heroes, information on
   of their violent activities.   its political and ideological aims, fierce criticism of its enemies, and up-to-date news.
                                  Nationalist and separatist organizations generally display maps of the areas in dispute:
                                  the Hamas site shows a map of Palestine, the FARC site shows a map of Colombia, the
                                  LTTE site presents a map of Sri Lanka, and so forth. Despite the ever-present vocabulary
                                  of “the armed struggle” and “resistance,” what most sides do not feature is a detailed
                                  description of their violent activities. Even if they expound at length on the moral and
                                  legal basis of the legitimacy of the use of violence, most sites refrain from referring to
                                  the terrorists’ violent actions or their fatal consequences—this reticence is presumably
                                  inspired by propagandist and image-building considerations. Two exceptions to this rule
                                  are Hezbollah and Hamas, whose sites feature updated statistical reports of their actions
                                  (“daily operations”) and tallies of both “dead martyrs” and “Israeli enemies” and “col-
                                  laborators” killed.


                                  Audiences
                                  Whom do the Internet terrorists target at their sites? An analysis of the content of the
                                  websites suggests three different audiences.
                                  • Current and potential supporters. Terrorist websites make heavy use of slogans and
                                    offer items for sale, including T-shirts, badges, flags, and videotapes and audiocas-
                                    settes, all evidently aimed at sympathizers. Often, an organization will target its
                                    local supporters with a site in the local language and will provide detailed informa-
                                    tion about the activities and internal politics of the organization, its allies, and its
                                    competitors.
                                  • International public opinion. The international public, who are not directly involved in
                                    the conflict but who may have some interest in the issues involved, are courted with
                                    sites in languages other than the local tongue. Most sites offer versions in several
                                    languages. ETA’s site, for instance, offers information in Castilian, German, French, and
                                    Italian; the MRTA site offers Japanese and Italian in addition to its English and Spanish
                                    versions; and the IMU site uses Arabic, English, and Russian. For the benefit of their
                                    international audiences, the sites present basic information about the organization
                                    and extensive historical background material (material with which the organization’s
                                    supporters are presumably already familiar).
 Judging from the content of           Judging from the content of many of the sites, it appears that foreign journalists
                                    are also targeted. Press releases are often placed on the websites in an effort to get
 many of the sites, it appears      the organization’s point of view into the traditional media. The detailed background
  that foreign journalists are      information is also very useful for international reporters. One of Hezbollah’s sites
                                    specifically addresses journalists, inviting them to interact with the organization’s
                also targeted.      press office via-email.

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• Enemy publics. Efforts to reach enemy publics (i.e., citizens of the states against which
  the terrorists are fighting) are not as clearly apparent from the content of many sites.
  However, some sites do seem to make an effort to demoralize the enemy by threaten-
  ing attacks and by fostering feelings of guilt about the enemy’s conduct and motives.
  In the process, they also seek to stimulate public debate in their enemies’ states, to
  change public opinion, and to weaken public support for the governing regime.



How Terrorists Use the Internet
We have identified eight different, albeit sometimes overlapping, ways in which contem-
porary terrorists use the Internet. Some of these parallel the uses to which everyone puts
the Internet—information gathering, for instance. Some resemble the uses made of the
medium by traditional political organizations—for example, raising funds and disseminat-
ing propaganda. Others, however, are much more unusual and distinctive—for instance,
hiding instructions, manuals, and directions in coded messages or encrypted files.


Psychological Warfare
Terrorism has often been conceptualized as a form of psychological warfare, and certainly          Terrorism has often been
terrorists have sought to wage such a campaign through the Internet. There are several
ways for terrorists to do so. For instance, they can use the Internet to spread disinforma-        conceptualized as a form of
tion, to deliver threats intended to distill fear and helplessness, and to disseminate hor-        psychological warfare, and
rific images of recent actions, such as the brutal murder of the American journalist Daniel
Pearl by his captors, a videotape of which was replayed on several terrorist websites. Ter-
                                                                                                   certainly terrorists have sought
rorists can also launch psychological attacks through cyberterrorism, or, more accurately,         to wage such a campaign
through creating the fear of cyberterrorism. “Cyberfear” is generated when concern about
                                                                                                   through the Internet.
what a computer attack could do (for example, bringing down airliners by disabling air
traffic control systems, or disrupting national economies by wrecking the computerized
systems that regulate stock markets) is amplified until the public believes that an attack
will happen. The Internet—an uncensored medium that carries stories, pictures, threats,
or messages regardless of their validity or potential impact—is peculiarly well suited to
allowing even a small group to amplify its message and exaggerate its importance and
the threat it poses.
    Al Qaeda combines multimedia propaganda and advanced communication technolo-                   Al Qaeda combines multimedia
gies to create a very sophisticated form of psychological warfare. Osama bin Laden and
his followers concentrate their propaganda efforts on the Internet, where visitors to al           propaganda and advanced
Qaeda’s numerous websites and to the sites of sympathetic, aboveground organizations               communication technologies to
can access prerecorded videotapes and audiotapes, CD-ROMs, DVDs, photographs, and
announcements. Despite the massive onslaught it has sustained in recent years—the
                                                                                                   create a very sophisticated
arrests and deaths of many of its members, the dismantling of its operational bases and            form of psychological warfare.
training camps in Afghanistan, and the smashing of its bases in the Far East—al Qaeda
has been able to conduct an impressive scare campaign. Since September 11, 2001, the
organization has festooned its websites with a string of announcements of an impending
“large attack” on U.S. targets. These warnings have received considerable media coverage,
which has helped to generate a widespread sense of dread and insecurity among audi-
ences throughout the world and especially within the United States.                                Despite the massive onslaught
    Interestingly, al Qaeda has consistently claimed on its websites that the destruction of the   it has sustained in recent years
World Trade Center has inflicted psychological damage, as well as concrete damage, on the
U.S. economy. The attacks on the Twin Towers are depicted as an assault on the trademark           . . . al Qaeda has been able to
of the U.S. economy, and evidence of their effectiveness is seen in the weakening of the           conduct an impressive scare
dollar, the decline of the U.S. stock market after 9/11, and a supposed loss of confidence
in the U. S. economy both within the United States and elsewhere. Parallels are drawn with         campaign.
the decline and ultimate demise of the Soviet Union. One of bin Laden’s recent publications,

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                                    posted on the web, declared that “America is in retreat by the Grace of Almighty and eco-
                                    nomic attrition is continuing up to today. But it needs further blows. The young men need
                                    to seek out the nodes of the American economy and strike the enemy’s nodes.”


                                    Publicity and Propaganda
      Terrorists now have direct    The Internet has significantly expanded the opportunities for terrorists to secure publicity.
                                    Until the advent of the Internet, terrorists’ hopes of winning publicity for their causes and
control over the content of their   activities depended on attracting the attention of television, radio, or the print media.
  message . . . [enabling them]     These traditional media have “selection thresholds” (multistage processes of editorial selec-
                                    tion) that terrorists often cannot reach. No such thresholds, of course, exist on the terrorists’
 to manipulate their own image      own websites. The fact that many terrorists now have direct control over the content of their
and the image of their enemies.     message offers further opportunities to shape how they are perceived by different target
                                    audiences and to manipulate their own image and the image of their enemies.
                                       As noted earlier, most terrorist sites do not celebrate their violent activities. Instead,
                                    regardless of the terrorists’ agendas, motives, and location, most sites emphasize two
                                    issues: the restrictions placed on freedom of expression and the plight of comrades who
                                    are now political prisoners. These issues resonate powerfully with their own supporters
                                    and are also calculated to elicit sympathy from Western audiences that cherish freedom of
 Most terrorist sites emphasize     expression and frown on measures to silence political opposition. Enemy publics, too, may
                                    be targets for these complaints insofar as the terrorists, by emphasizing the antidemo-
   two issues: the restrictions     cratic nature of the steps taken against them, try to create feelings of unease and shame
          placed on freedom of      among their foes. The terrorists’ protest at being muzzled, it may be noted, is particularly
                                    well suited to the Internet, which for many users is the symbol of free, unfettered, and
     expression and the plight      uncensored communication.
     of comrades who are now           Terrorist sites commonly employ three rhetorical structures, all used to justify their reli-
                                    ance on violence. The first one is the claim that the terrorists have no choice other than
             political prisoners.   to turn to violence. Violence is presented as a necessity foisted upon the weak as the only
                                    means with which to respond to an oppressive enemy. While the sites avoid mentioning
                                    how the terrorists victimize others, the forceful actions of the governments and regimes
                                    that combat the terrorists are heavily emphasized and characterized with terms such as
                                    “slaughter,” “murder,” and “genocide.” The terrorist organization is depicted as constantly
                                    persecuted, its leaders subject to assassination attempts and its supporters massacred,
                                    its freedom of expression curtailed, and its adherents arrested. This tactic, which portrays
                                    the organization as small, weak, and hunted down by a strong power or a strong state,
                                    turns the terrorists into the underdog.
                                       A second rhetorical structure related to the legitimacy of the use of violence is the
                                    demonizing and delegitimization of the enemy. The members of the movement or organi-
                                    zation are presented as freedom fighters, forced against their will to use violence because
                                    a ruthless enemy is crushing the rights and dignity of their people or group. The enemy
                                    of the movement or the organization is the real terrorist, many sites insist: “Our violence
                                    is tiny in comparison to his aggression” is a common argument. Terrorist rhetoric tries to
                                    shift the responsibility for violence from the terrorist to the adversary, which is accused
                                    of displaying its brutality, inhumanity, and immorality.
                                       A third rhetorical device is to make extensive use of the language of nonviolence in
                                    an attempt to counter the terrorists’ violent image. Although these are violent organiza-
                                    tions, many of their sites claim that they seek peaceful solutions, that their ultimate aim
                                    is a diplomatic settlement achieved through negotiation and international pressure on a
    The World Wide Web alone        repressive government.
offers about a billion pages of
information, much of it free—       Data Mining
  and much of it of interest to     The Internet may be viewed as a vast digital library. The World Wide Web alone offers
                                    about a billion pages of information, much of it free—and much of it of interest to ter-
        terrorist organizations.    rorist organizations. Terrorists, for instance, can learn from the Internet a wide variety of

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details about targets such as transportation facilities, nuclear power plants, public build-
ings, airports, and ports, and even about counterterrorism measures. Dan Verton, in his
book Black Ice: The Invisible Threat of Cyberterrorism (2003), explains that “al-Qaeda cells
now operate with the assistance of large databases containing details of potential targets
in the U.S. They use the Internet to collect intelligence on those targets, especially criti-
cal economic nodes, and modern software enables them to study structural weaknesses
in facilities as well as predict the cascading failure effect of attacking certain systems.”
According to Secretary of Defense Donald Rumsfeld, speaking on January 15, 2003, an al
Qaeda training manual recovered in Afghanistan tells its readers, “Using public sources
openly and without resorting to illegal means, it is possible to gather at least 80 percent
of all information required about the enemy.”
    The website operated by the Muslim Hackers Club (a group that U.S. security agencies        Specific targets that al Qaeda–
believe aims to develop software tools with which to launch cyberattacks) has featured
links to U.S. sites that purport to disclose sensitive information such as code names           related websites have discussed
and radio frequencies used by the U.S. Secret Service. The same website offers tutorials        include the Centers for Disease
in creating and spreading viruses, devising hacking stratagems, sabotaging networks,
and developing codes; it also provides links to other militant Islamic and terrorist web
                                                                                                Control and Prevention in
addresses. Specific targets that al Qaeda–related websites have discussed include the           Atlanta [and] FedWire, the
Centers for Disease Control and Prevention in Atlanta; FedWire, the money-movement
                                                                                                money-movement clearing
clearing system maintained by the Federal Reserve Board; and facilities controlling the
flow of information over the Internet. Like many other Internet users, terrorists have          system maintained by the
access not only to maps and diagrams of potential targets but also to imaging data on
                                                                                                Federal Reserve Board.
those same facilities and networks that may reveal counterterrorist activities at a target
site. One captured al Qaeda computer contained engineering and structural features of a
dam, which had been downloaded from the Internet and which would enable al Qaeda
engineers and planners to simulate catastrophic failures. In other captured computers,
U.S. investigators found evidence that al Qaeda operators spent time on sites that offer
software and programming instructions for the digital switches that run power, water,
transportation, and communications grids.
    Numerous tools are available to facilitate such data collection, including search
engines, e-mail distribution lists, and chat rooms and discussion groups. Many websites
offer their own search tools for extracting information from databases on their sites. Word
searches of online newspapers and journals can likewise generate information of use to
terrorists; some of this information may also be available in the traditional media, but
online searching capabilities allow terrorists to capture it anonymously and with very
little effort or expense.


Fundraising
Like many other political organizations, terrorist groups use the Internet to raise funds.      The IRA's website contains a
Al Qaeda, for instance, has always depended heavily on donations, and its global fund-
raising network is built upon a foundation of charities, nongovernmental organizations,         page on which visitors can
and other financial institutions that use websites and Internet-based chat rooms and            make credit card donations.
forums. The Sunni extremist group Hizb al-Tahrir uses an integrated web of Internet
sites, stretching from Europe to Africa, which asks supporters to assist the effort by
giving money and encouraging others to donate to the cause of jihad. Banking infor-
mation, including the numbers of accounts into which donations can be deposited, is
provided on a site based in Germany. The fighters in the Russian breakaway republic of
Chechnya have likewise used the Internet to publicize the numbers of bank accounts to
which sympathizers can contribute. (One of these Chechen bank accounts is located in            Internet user demographics
Sacramento, California.) The IRA’s website contains a page on which visitors can make           . . . allow terrorists to identify
credit card donations.
   Internet user demographics (culled, for instance, from personal information entered in
                                                                                                users with sympathy for a
online questionnaires and order forms) allow terrorists to identify users with sympathy         particular cause or issue.
                                                                                           7
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                                    for a particular cause or issue. These individuals are then asked to make donations, typi-
                                    cally through e-mails sent by a front group (i.e., an organization broadly supportive of
                                    the terrorists’ aims but operating publicly and legally and usually having no direct ties to
                                    the terrorist organization). For instance, money benefiting Hamas has been collected via
                                    the website of a Texas-based charity, the Holy Land Foundation for Relief and Develop-
                                    ment (HLF). The U.S. government seized the assets of HLF in December 2001 because
                                    of its ties to Hamas. The U.S. government has also frozen the assets of three seemingly
                                    legitimate charities that use the Internet to raise money—the Benevolence International
                                    Foundation, the Global Relief Foundation, and the Al-Haramain Foundation—because of
                                    evidence that those charities have funneled money to al Qaeda.
                                       In another example, in January 2004, a federal grand jury in Idaho charged a Saudi
                                    graduate student with conspiring to help terrorist organizations wage jihad by using the
                                    Internet to raise funds, field recruits, and locate prospective U.S. targets—military and
                                    civilian—in the Middle East. Sami Omar Hussayen, a doctoral candidate in computer sci-
                                    ence in a University of Idaho program sponsored—ironically—by the National Security
                                    Agency, was accused of creating websites and an e-mail group that disseminated mes-
                                    sages from him and two radical clerics in Saudi Arabia that supported jihad.


                                    Recruitment and Mobilization
   Recruiters . . . roam online     The Internet can be used not only to solicit donations from sympathizers but also
                                    to recruit and mobilize supporters to play a more active role in support of terror-
   chat rooms and cybercafes,       ist activities or causes. In addition to seeking converts by using the full panoply of
looking for receptive members       website technologies (audio, digital video, etc.) to enhance the presentation of their
                                    message, terrorist organizations capture information about the users who browse their
     of the public, particularly    websites. Users who seem most interested in the organization’s cause or well suited
                 young people.      to carrying out its work are then contacted. Recruiters may also use more interactive
                                    Internet technology to roam online chat rooms and cybercafes, looking for receptive
                                    members of the public, particularly young people. Electronic bulletin boards and user
                                    nets (issue-specific chat rooms and bulletins) can also serve as vehicles for reaching
                                    out to potential recruits.
                                       Some would-be recruits, it may be noted, use the Internet to advertise themselves to
                                    terrorist organizations. In 1995, as reported by Verton in Black Ice, Ziyad Khalil enrolled
                                    as a computer science major at Columbia College in Missouri. He also became a Muslim
                                    activist on the campus, developing links to several radical groups and operating a website
                                    that supported Hamas. Thanks in large part to his Internet activities, he came to the
                                    attention of bin Laden and his lieutenants. Khalil became al Qaeda’s procurement officer
                                    in the United States, arranging purchases of satellite telephones, computers, and other
                                    electronic surveillance technologies and helping bin Laden communicate with his follow-
                                    ers and officers.
           Potential recruits are      More typically, however, terrorist organizations go looking for recruits rather than
                                    waiting for them to present themselves. The SITE Institute, a Washington, D.C.–based
      bombarded with religious      terrorism research group that monitors al Qaeda’s Internet communications, has provided
     decrees and anti-American      chilling details of a high-tech recruitment drive launched in 2003 to recruit fighters to
                                    travel to Iraq and attack U.S. and coalition forces there. Potential recruits are bombarded
    propaganda, provided with       with religious decrees and anti-American propaganda, provided with training manuals on
   training manuals on how to       how to be a terrorist, and—as they are led through a maze of secret chat rooms—given
                                    specific instructions on how to make the journey to Iraq. In one particularly graphic
  be a terrorist, and . . . given   exchange in a secret al Qaeda chat room in early September 2003 an unknown Islamic
specific instructions on how to     fanatic, with the user name “Redemption Is Close,” writes, “Brothers, how do I go to Iraq
                                    for Jihad? Are there any army camps and is there someone who commands there?” Four
      make the journey to Iraq.
                                    days later he gets a reply from “Merciless Terrorist.” “Dear Brother, the road is wide open
                                    for you—there are many groups, go look for someone you trust, join him, he will be
                                    the protector of the Iraqi regions and with the help of Allah you will become one of the

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Mujahidin.” “Redemption Is Close” then presses for more specific information on how he
can wage jihad in Iraq. “Merciless Terrorist” sends him a propaganda video and instructs
him to download software called Pal Talk, which enables users to speak to each other on
the Internet without fear of being monitored.
  Many terrorist websites stop short of enlisting recruits for violent action but they do
encourage supporters to show their commitment to the cause in other tangible ways.
“How can I help the struggle: A few suggestions,” runs a heading on the Kahane Lives
website; “Action alert: What you can do” is a feature on the Shining Path’s website. The
power of the Internet to mobilize activists is illustrated by the response to the arrest of
Abdullah Ocalan, leader of the Kurdish terrorist group the PKK. When Turkish forces arres-
ted Ocalan, tens of thousands of Kurds around the world responded with demonstrations
within a matter of hours—thanks to sympathetic websites urging supporters to protest.


Networking
Many terrorist groups, among them Hamas and al Qaeda, have undergone a transforma-            Terrorists are increasingly
tion from strictly hierarchical organizations with designated leaders to affiliations of
semi-independent cells that have no single commanding hierarchy. Through the use of           likely to be organized . . .
the Internet, these loosely interconnected groups are able to maintain contact with one       [as] arrays of transnational
another—and with members of other terrorist groups. In the future, terrorists are increas-
ingly likely to be organized in a more decentralized manner, with arrays of transnational
                                                                                              groups linked by the Internet
groups linked by the Internet and communicating and coordinating horizontally rather          and communicating and
than vertically.
                                                                                              coordinating horizontally
   Several reasons explain why modern communication technologies, especially computer-
mediated communications, are so useful for terrorists in establishing and maintaining         rather than vertically.
networks. First, new technologies have greatly reduced transmission time, enabling
dispersed organizational actors to communicate swiftly and to coordinate effectively.
Second, new technologies have significantly reduced the cost of communication. Third,
by integrating computing with communications, they have substantially increased the
variety and complexity of the information that can be shared.
   The Internet connects not only members of the same terrorist organizations but also
members of different groups. For instance, dozens of sites exist that express support for
terrorism conducted in the name of jihad. These sites and related forums permit terrorists
in places such as Chechnya, Palestine, Indonesia, Afghanistan, Turkey, Iraq, Malaysia, the
Philippines, and Lebanon to exchange not only ideas and suggestions but also practical
information about how to build bombs, establish terror cells, and carry out attacks.


Sharing Information
The World Wide Web is home to dozens of sites that provide information on how to build        The World Wide Web is home
chemical and explosive weapons. Many of these sites post The Terrorist’s Handbook and
The Anarchist Cookbook, two well-known manuals that offer detailed instructions on how        to dozens of sites that provide
to construct a wide range of bombs. Another manual, The Mujahadeen Poisons Handbook,          information on how to build
written by Abdel-Aziz in 1996 and “published” on the official Hamas website, details in
twenty-three pages how to prepare various homemade poisons, poisonous gases, and
                                                                                              chemical and explosive
other deadly materials for use in terrorist attacks. A much larger manual, nicknamed          weapons.
“The Encyclopedia of Jihad” and prepared by al Qaeda, runs to thousands of pages;
distributed through the Internet, it offers detailed instructions on how to establish an
underground organization and execute attacks. One al Qaeda laptop found in Afghani-
stan had been used to make multiple visits to a French site run by the Société Anonyme
(a self-described “fluctuating group of artists and theoreticians who work specifically
on the relations between critical thinking and artistic practices”), which offers a two-
volume Sabotage Handbook with sections on topics such as planning an assassination
and antisurveillance methods.

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                                       This kind of information is sought out not just by sophisticated terrorist organizations
                                    but also by disaffected individuals prepared to use terrorist tactics to advance their idio-
                                    syncratic agendas. In 1999, for instance, a young man by the name of David Copeland
                                    planted nail bombs in three different areas of London: multiracial Brixton, the largely
                                    Bangladeshi community of Brick Lane, and the gay quarter in Soho. Over the course of
                                    three weeks, he killed 3 people and injured 139. At his trial, he revealed that he had
                                    learned his deadly techniques from the Internet, downloading The Terrorist’s Handbook
                                    and How to Make Bombs: Book Two. Both titles are still easily accessible. A search for
      A search for the keywords     the keywords “terrorist” and “handbook” on the Google search engine found nearly four
                                    thousand matches that included references to guidebooks and manuals. One site gives
 “terrorist” and “handbook” on      instructions on how to acquire ammonium nitrate, Copeland’s “first choice” of explosive
the Google search engine found      material.
                                       In Finland in 2002, a brilliant chemistry student who called himself “RC” discussed
  nearly four thousand matches      bomb-making techniques with other enthusiasts on a Finnish Internet website devoted
     that included references to    to bombs and explosives. Sometimes he posted queries on topics such as manufacturing
                                    nerve gas at home. Often he traded information with the site’s moderator, whose mes-
       guidebooks and manuals.      sages carried a picture of his own face superimposed on Osama bin Laden’s body, com-
                                    plete with turban and beard. Then RC set off a bomb that killed seven people, including
                                    himself, in a crowded shopping mall. The website frequented by RC, known as the Home
                                    Chemistry Forum, was shut down by its sponsor, a computer magazine. But a backup copy
                                    was immediately posted again on a read-only basis.


                                    Planning and Coordination
        Thousands of encrypted      Terrorists use the Internet not only to learn how to build bombs but also to plan and
                                    coordinate specific attacks. Al Qaeda operatives relied heavily on the Internet in planning
       messages that had been       and coordinating the September 11 attacks. Thousands of encrypted messages that had
posted in a password-protected      been posted in a password-protected area of a website were found by federal officials on
                                    the computer of arrested al Qaeda terrorist Abu Zubaydah, who reportedly masterminded
  area of a website were found      the September 11 attacks. The first messages found on Zubaydah’s computer were dated
     by federal officials on the    May 2001 and the last were sent on September 9, 2001. The frequency of the messages
                                    was highest in August 2001. To preserve their anonymity, the al Qaeda terrorists used the
   computer [of the man] who
                                    Internet in public places and sent messages via public e-mail. Some of the September 11
  reportedly masterminded the       hijackers communicated using free web-based e-mail accounts.
                                       Hamas activists in the Middle East, for example, use chat rooms to plan operations
         September 11 attacks.
                                    and operatives exchange e-mail to coordinate actions across Gaza, the West Bank, Leba-
                                    non, and Israel. Instructions in the form of maps, photographs, directions, and technical
                                    details of how to use explosives are often disguised by means of steganography, which
                                    involves hiding messages inside graphic files. Sometimes, however, instructions are
Instructions . . . are often dis-   delivered concealed in only the simplest of codes. Mohammed Atta’s final message to the
 guised by means of steganog-       other eighteen terrorists who carried out the attacks of 9/11 is reported to have read:
                                    “The semester begins in three more weeks. We’ve obtained 19 confirmations for studies in
  raphy, which involves hiding
                                    the faculty of law, the faculty of urban planning, the faculty of fine arts, and the faculty
 messages inside graphic files.     of engineering.” (The reference to the various faculties was apparently the code for the
                                    buildings targeted in the attacks.)
                                       Since 9/11, U.S. security agencies have monitored a number of websites that they
                                    believe are linked to al Qaeda and appear to contain elements of cyberplanning (e.g.,
                                    directions for operatives, information for supporters and activists, calls for action, threats,
                                    and links to other websites):
                                    • alneda.com, which, until it was closed down in 2002, is said by U.S. officials to
                                      have contained encrypted information to direct al Qaeda members to more secure
                                      sites, featured international news about al Qaeda, and published a variety of articles,
                                      books, and fatwas (the latter typically declaring war on the United States, Christian-
                                      ity, or Judaism);

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• assam.com, which served as a mouthpiece for jihad in Afghanistan, Chechnya, and
  Palestine;
• almuhrajiroun.com, which in the late 1990s and early 2000s urged sympathizers to
  assassinate Pakistani president Pervez Musharraf;
• qassam.net, a site that U.S. officials claim is linked not only to al Qaeda but also to
  Hamas;
• jihadunspun.net, which offered a thirty-six-minute video of Osama bin Laden lecturing,
  preaching, and making threats;
• 7hj.7hj.com, which aimed to teach visitors how to hack into Internet networks and
  how to infect government and corporate websites with “worms” and viruses;
• aloswa.org, which featured quotations from bin Laden and religious legal rulings justi-
  fying the attacks of 9/11 and other assaults on the West;
• drasat.com, run (some experts suspect) by a fictional institution called the Islamic
  Studies and Research Center and reported to be the most credible of dozens of Islamist
  sites posting al Qaeda news; and
• jehad.net, alsaha.com, and islammemo.com, which are alleged to have posted al Qaeda
  statements as well as calls for action and directions for operatives.



Conclusion
In a briefing given in late September 2001, Ronald Dick, assistant director of the FBI and
head of the United States National Infrastructure Protection Center (NIPC), told reporters
that the hijackers of 9/11 had used the Internet, and “used it well.” Since 9/11, terrorists
have only sharpened their Internet skills and increased their web presence. Today, ter-
rorists of very different ideological persuasions—Islamist, Marxist, nationalist, separatist,
racist—have learned many of the same lessons about how to make the most of the Inter-
net. The great virtues of the Internet—ease of access, lack of regulation, vast potential
audiences, fast flow of information, and so forth—have been turned to the advantage of
groups committed to terrorizing societies to achieve their goals.
   How should those societies respond? This is not the place to attempt anything like           It is imperative that security
a definitive answer, but two things seem clear. First, we must become better informed
about the uses to which terrorists put the Internet and better able to monitor their
                                                                                                agencies continue to improve
activities. As noted at the outset of this report, journalists, scholars, policymakers, and     their ability to study and
even security agencies have tended to focus on the exaggerated threat of cyberterrorism
                                                                                                monitor terrorist activities
and paid insufficient attention to the more routine uses made of the Internet. Those uses
are numerous and, from the terrorists’ perspective, invaluable. Hence, it is imperative         on the Internet.
that security agencies continue to improve their ability to study and monitor terrorist
activities on the Internet and explore measures to limit the usability of this medium by
modern terrorists.
   Second, while we must thus better defend our societies against terrorism, we must not        While we must . . . better
in the process erode the very qualities and values that make our societies worth defend-
ing. The Internet is in many ways an almost perfect embodiment of the democratic ideals         defend our societies against
of free speech and open communication; it is a marketplace of ideas unlike any that             terrorism, we must not in the
has existed before. Unfortunately, as this report has shown, the freedom offered by the
Internet is vulnerable to abuse from groups that, paradoxically, are themselves often hos-      process erode the very quali-
tile to uncensored thought and expression. But if, fearful of further terrorist attacks, we     ties and values that make our
circumscribe our own freedom to use the Internet, then we hand the terrorists a victory
and deal democracy a blow. We must not forget that the fear that terrorism inflicts has in
                                                                                                societies worth defending.
the past been manipulated by politicians to pass legislation that undermines individual
rights and liberties. The use of advanced techniques to monitor, search, track, and analyze

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For more information on this topic,    communications carries inherent dangers. Although such technologies might prove very
   see our website (www.usip.org),     helpful in the fight against cyberterrorism and Internet-savvy terrorists, they would also
which has an online edition of this    hand participating governments, especially authoritarian governments and agencies with
  report containing links to related   little public accountability, tools with which to violate civil liberties domestically and
     websites, as well as additional   abroad. It does take much imagination to recognize that the long-term implications could
        information on the subject.    be profound and damaging for democracies and their values, adding a heavy price in terms
                                       of diminished civil liberties to the high toll exacted by terrorism itself.



                                       Of Related Interest
                                       A number of other publications from the United States Institute of Peace address issues
                                       related to terrorism and to the Internet and other forms of information technology. Note:
                                       Most of our reports can be downloaded from our website at www.usip.org/reports.


                                       Recent Special Reports on Terrorism
                                       • Terrorism in the Horn of Africa (Special Report 113, January 2004)
                                       • Global Terrorism after the Iraq War (Special Report 111, October 2003)
                                       • The Diplomacy of Counterterrorism: Lessons Learned, Ignored, and Disputed (Special
                                         Report 80, January 2002)
                                       • For terrorism and counterterrorism links, visit www.usip.org/library/topics/terrorism.
                                         html.


                                       Recent Reports from the Virtual Diplomacy Initiative
                                       • Creating a Common Communications Culture: Interoperability in Crisis Management (Janu-
                                         ary 2004)
                                       • Net Diplomacy I (Beyond Foreign Ministries), II (Beyond Old Borders), and III (2015 and
                                         Beyond) (August 2002)
                                       • Information Technology and Peace Support Operations (July 2002)
                                       • For more resources, visit www.usip.org/virtualdiplomacy/index.html.




                 United States
            Institute of Peace
                1200 17th Street NW
               Washington, DC 20036
                  www.usip.org
